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         Exhibit 1
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 1                          UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA
 2
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 3                                        )
         United States of America,        ) File No. 17-CR-0090
 4                                        )           (PJS/DTS)
                 Plaintiff,               )
 5                                        )
         v.                               ) Minneapolis, Minnesota
 6                                        ) October 5, 2017
         Christopher Victor Grupe,        ) 8:30 a.m.
 7                                        )
                 Defendant.               )
 8      -----------------------------------------------------------

 9                   BEFORE THE HONORABLE PATRICK J. SCHILTZ
                       UNITED STATES DISTRICT COURT JUDGE
10                                 (VOLUME IV)

11      APPEARANCES
         For the Plaintiff:               U.S. ATTORNEY'S OFFICE
12                                        TIMOTHY RANK, AUSA
                                          300 S. 4th St., #600
13                                        Minneapolis, Minnesota 55415

14                                        DEPARTMENT OF JUSTICE - CRIMINAL
                                          AARON COOPER
15                                        1301 New York Ave., #600
                                          Washington, DC 20005
16
          For the Defendant:              TOR EKELAND LAW, PLLC
17                                        TOR EKELAND, ESQ.
                                          FREDERIC JENNINGS, ESQ.
18                                        AMANDA GRANNIS, ESQ.
                                          195 Montague St., 14th Floor
19                                        Brooklyn, New York 11201

20                                        DANIEL MOHS, ESQ.
                                          P.O. Box 7
21                                        Spicer, Minnesota 56288

22        Court Reporter:                 DEBRA K. BEAUVAIS, RPR-CRR
                                          300 S. 4th St., #1005
23                                        Minneapolis, Minnesota 55415

24
                  Proceedings recorded by mechanical stenography;
25      transcript produced by computer.



                             DEBRA BEAUVAIS, RPR-CRR
                                 (612)664-5102
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 1                   THE COURT:   And Mr. Ekeland?

 2                   MR. EKELAND:    Yes, Your Honor.

 3                   THE COURT:   You can be seated, Mr. Grupe.

 4                   Mr. Ekeland, let me talk to you about the expert

 5      disclosure issue.      So my understanding is that you want to

 6      call an expert witness in rebuttal, and that the main focus

 7      of the expert's testimony would likely be on evidence

 8      preservation issues, chain of custody issues, similar

 9      issues.    Is that correct?

10                   MR. EKELAND:    Yes, Your Honor.

11                   THE COURT:   Okay.    Now, the issue that we have

12      here is that Rule 16(b)(1)(C) requires that the defendant --

13      there's no question here that you requested disclosure from

14      the government under (a)(1)(G) and, therefore, that you have

15      an obligation to make disclosures about your expert

16      witnesses.    I take it you agree with that as a first

17      principle?

18                   MR. EKELAND:    Yes, Your Honor.

19                   THE COURT:   And the rule requires you to give the

20      government a written summary of any testimony that the

21      defendant intends to use, expert testimony the defendant

22      uses, and it says the summary must describe the witness's

23      opinions, the bases and reasons for those opinions, and the

24      witness's qualifications.       There's no issue here that you

25      disclosed the name of your expert.         There's no issue that



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 1      you've disclosed his qualifications.         And you did both of

 2      those in a timely way.       That's not at issue here.

 3                  I've looked at everything -- before we -- or

 4      during our break, the two of you gave me everything that

 5      discloses anything about the expert.         I read this and I have

 6      to say I just don't see any opinions at all.           An opinion is

 7      this is good, this is bad, this was sloppy, this was

 8      careful.    I see a list of topics, but I don't see any

 9      opinions.

10                  Now, to be fair, in that formal letter the

11      government gave you at my suggestion where they made expert

12      disclosures as to essentially all of their witnesses, that's

13      what they mostly did in their letter.          But the major

14      difference between the government's disclosure and yours is

15      they referred you to discovery where you could go back and

16      look and see what the actual opinions were.           Whereas, right

17      now if I was the government, I wouldn't have any idea what

18      your witness is going to say even at a general level.             So I

19      have to say I don't see a disclosure of opinions here under

20      the rule.

21                  MR. EKELAND:     Your Honor, may I be heard?

22                  THE COURT:    Yes.    Of course.

23                  MR. EKELAND:     I'd respectfully disagree with the

24      Court that the government has no idea as to what our expert

25      witness is going to testify to.



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 1                  I also disagree with the proposition that the

 2      government disclosed all the opinions that their witnesses

 3      actually testified to, Your Honor.         I believe almost every

 4      government witness was noticed after the Court requested as

 5      an expert in this case.       We noticed Mr. Fischbach as a

 6      rebuttal witness.      He has been in this courtroom listening

 7      to the voluminous expert testimony on subjects where, based

 8      on the disclosure letter we got, the witnesses weren't

 9      necessarily qualified to testify on.         For instance, I

10      believe Mr. Seguin testified as to the functionality of the

11      Aruba RAPs and reached all sorts of conclusions.            The

12      prosecution's case here has been full of expert opinions

13      that went beyond what was disclosed in their very, very --

14                  THE COURT:    To be clear, as I told you at the

15      pretrial conference, I stood ready to rule on any objection

16      that an opinion had not been disclosed.          I didn't receive

17      any such objections.

18                  MR. EKELAND:     Your Honor, the testimony in this

19      case has been extremely voluminous, and we put our objection

20      on our motions in limine about the 703 issues in this case,

21      and we reiterate that objection.         And we have noticed the

22      government since September 1st that we intended to call

23      Mr. Fischbach.     They did not object in their motions in

24      limine to our expert disclosure.         Now, at this late hour,

25      they come and they object at trial.



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 1                  THE COURT:    At the time of our pretrial

 2      conference, the last word the government had from you was

 3      that you were not going to call the expert.           So they

 4      couldn't hardly object to him when you had said you were not

 5      going to call him.

 6                  MR. EKELAND:     Your Honor, we said we may call

 7      Mr. Fischbach and that we hadn't made a decision yet as to

 8      his opinion.

 9                  THE COURT:    But at the end of the day I have to

10      apply the rule.     The rule says you have to disclose his

11      opinions.    I don't see a single opinion in here.

12                  Now, we always have issues with expert disclosure

13      when the expert says my opinion is that, you know, evidence

14      was collected in a sloppy way here, in a way that was

15      contrary to the standards of the ABC organization.            We

16      always get into fights about whether that was specific

17      enough as to this specific opinion.         I literally don't see a

18      single opinion in this disclosure:         I, Mr. Fischbach, opine

19      X.   I see topics on which he may give opinions, but I don't

20      see the opinions.      The disclosure isn't just for opinions.

21      It's the reasons for the opinions.

22                  So not only do I not see:       I, Mr. Fischbach, opine

23      as follows -- and, obviously, there's nothing that says I

24      opine as follows for these reasons.         There's nothing even

25      like that in these disclosures.



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 1                  MR. EKELAND:     Your Honor, the government's

 2      disclosures suffer from the same deficiencies if that is a

 3      deficiency.    The government's witnesses came on and

 4      testified to many things we submit.         If we have to brief

 5      this, then maybe we should.        Based on their testimony, they

 6      testified outside of subject areas that were disclosed to

 7      us.

 8                  THE COURT:    I can only rule on the objections if

 9      they're made.     I can't rule on objections that aren't made.

10      And I can't be expected to sit here and read through all the

11      302's and listen to the testimony and myself object when

12      someone's testimony strays beyond what they said in the 302.

13      That's what you've got to do.        I stood ready to rule on

14      those objections you didn't make.         The government has

15      objected that you have not properly disclosed opinions of

16      your expert.     I can only rule on the objections that are

17      made.   I agree with the government.        You didn't disclose any

18      opinions with respect to this expert, and you didn't

19      disclose any reasons for opinion.

20                  And as to information handling, information

21      security, those kinds of things, this is all stuff that you

22      knew long ago.     You knew that the logs had been -- you knew

23      you didn't have the full logs long ago.          I mean, this is all

24      stuff you knew before trial because we were talking about it

25      before trial.



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 1                  MR. EKELAND:     Yes, Your Honor.

 2                  THE COURT:    So it's not like something he learned

 3      this morning where you can say, well, he just learned it

 4      this morning.

 5                  MR. EKELAND:     Is what our expert opinion is going

 6      to be on that any secret?       I think it's completely obvious,

 7      Your Honor.    And I don't think that comes as any surprise to

 8      the government.     And I think the point of the rule is to

 9      avoid surprise, and you just don't have that here, Your

10      Honor.

11                  So, for the record, if the Court is going to rule

12      against us, we are just reiterating our objection that here

13      we are in a case where almost every witness that the

14      government has brought on has been noticed as an expert at a

15      very late hour.     I believe they gave us a witness list of 18

16      witnesses --

17                  THE COURT:    Right.    To be clear --

18                  MR. EKELAND:     -- which this Court allowed those

19      witnesses to offer expert opinion.         We have offered --

20                  THE COURT:    Wait, wait, wait, wait.       To be clear,

21      what we were dealing with at the pretrial conference was a

22      Rule 16 issue, and what we fixed was the Rule 16 issue.           And

23      I was quite specific that I wasn't ruling on any Daubert

24      issues.    And if there were Daubert issues that came up, you

25      needed to raise them at trial and that I would rule on



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 1      Daubert issues on a sentence-by-sentence, opinion-by-opinion

 2      basis.   There were a couple of times where you made 703

 3      objections and I overruled them.         So as to those, you have

 4      preserved it.     I was very clear about that at the pretrial

 5      conference.    All we resolved was the Rule 16 issue.             I

 6      didn't rule on any 703 issues at the pretrial conference.

 7                  So, you know, that's my ruling.         The government

 8      has objected to your expert testifying on the basis of a

 9      lack of disclosure.      I agree with the government that you

10      didn't make the disclosures required by Rule 16 and so I

11      will not allow Mr. Fischbach to testify.

12                  MR. EKELAND:     And just for the record, Your Honor,

13      we obviously object to your ruling.

14                  THE COURT:    Obviously.     And you've preserved your

15      right to argue that I made reversible error in excluding

16      your expert's testimony, but that's my ruling.

17                  MR. EKELAND:     Thank you, Your Honor.

18                  THE COURT:    Okay.    If that's the case, I assume

19      we're done.    Is that correct?

20                  MR. EKELAND:     Yes, Your Honor, besides the motion

21      for a directed verdict and -- yes.

22                  THE COURT:    I can let the jury go at this point?

23      I mean, I'll bring them back in and then --

24                  MR. MOHS:    Yes.

25                  MR. EKELAND:     Yes, Your Honor.



                            DEBRA BEAUVAIS, RPR-CRR
                                (612)664-5102
